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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF MASSACHUSETTS

DAVID SETH WORMAN, et al., CaSe NO. l:l7~CV-lOlO7-WGY

Plaintiffs,

vs.
MAURA HEALEY, et al.,

Defendants.

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DEPOSITION OF CHRISTOPHER B. COLWELL, M.D.
Wednesday, November 8, 2017

REPORTED BY:
CELIA A. ZARATE, RPR, CSR NO. 10769
JOb NO. 352097

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1 on paying attention to visual cues when you're taking

2 care of trauma patients.

3 Q. Understood. 1 will show you what we have marked
4 as Exhibit 3 to your deposition, and ask you if you can

5 identify that as a copy of the document that you brought
6 with you today, and that you referred to as your paper in
7 this matter.

8 A. Yes.

9 Q. And on the fifth page of that document, is that
10 your signature?
11 A. Yes.

12 Q. And is this the entire report, along with the CV

 

13 that you've provided, that you have provided in this

 

14 case?

15 A. Yes.

16 Q. Would you agree there are no authorities cited
17 in your report?

18 A. Yes.

19 MR. COLLINS: Objection.

20 Q. BY MR. SWEENEY: And would you also agree there
21 is not a list of materials in your report upon which you
22 relied or consulted?

23 MR. COLLINS: Objection.

24 THE WITNESS: YeS .

25 Q. BY MR. SWEENEY: Are there any sources upon

 

 

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1 which you've relied or consulted that you have not cited

2 in your report?

 

3 A. For the purposes of this report, no.

4 Q. All right. You reference as the basis for your
5 experience for -- scratch that.

6 You referenced in your report as the basis for

7 your opinions, your experiences treating gunshot wounds

 

8 as well as your experience at Columbine and Aurora. Am 1
9 correct?

10 A. Yes.

11 Q. Am I correct that those experiences are the sum

12 total of the bases that you are providing to support your

 

13 opinions in this matter?

14 A. Could you ask that question again? I'm not sure
15 1 understand.

16 Q. Sure. Sure. You've -- you have just told me
17 that there are no other sources that you relied on, and
18 you mentioned in your report you have experiences in

19 treating gunshot wounds, and you had experiences in

20 connection with the shootings at Columbine and Aurora,
21 and I'm asking, is there anything else that support the
22 opinions in your report?

23 MR. COLLINS: Objection. Go ahead.

24 THE WITNESS: So to answer that question I have

25 to explain that part of that experience involved not only

 

 

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1 treating patients, but also multiple educational

2 opportunities that 1 both taught and been involved with

3 that build on the experience 1've had over the last 25

4 years.

5 So 1 think it would be inaccurate to say that 1
6 haven't relied on any other discussions or document that
7 1've read through that time, but if the question is: Did
8 1 rely on any documents to prepare this particular

9 statement, the answer is no.

 

10 Q. BY MR. SWEENEY: Did you grow up in La Jolla?
11 A. 1 did.

12 Q. And that's a suburban environment, small town?
13 A. Relatively. 1t seems like it's getting bigger

14 these days, but, yes, suburban San Diego 1 suppose would
15 be the best way to describe it.

16 Q. While you were growing up in La Jolla were you

 

17 or anyone you knew a victim of violent crime?

18 A. Other than fist to cuffs, that type of assault,
19 nobody that 1 knew was a victim of a gunshot wound.

20 Q. Did you or anyone in your family own firearms
21 when you were growing up?

22 A. No. 1 should say, my grandfather and my father
23 had hunting rifles stored in our cabin at Michigan so we
24 didn't have them in the house.

25 Q. All right. Did you have any experience with

 

 

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1 whether that was peer reviewed or non»peer reviewed, but

 

2 1 did --

3 Q. 1t's in your list as peer reviewed.

4 A. Right.

5 Q. And if that was reliably put together at the

6 time, 1 hope we can both rely upon it as having been in a
7 peer reviewed journal. 1t appears in Emergency Medicine

8 Reports, the Practical Journal for Emergency Physicians.

9 A. And which number are you referring to?
10 Q. 1n your CV, it's number 25.
11 A. Yes. So, yes, it would be under Peer
12 reviewed.
13 MR. SWEENEY: All right. And let's mark this as

14 Exhibit 5 for this deposition, please.
15 (Exhibit 5 was marked for identification.)
16 Q. BY MR. SWEENEY: And you're the lead author of

17 this article, correct?

18 A. Yes.

19 Q. Unlike the bomb article we were just discussing?
20 A. Correct.

21 Q. And this is

22 a catalog of various less lethal force mechanisms
23 typically -- well, scratch typically ~- used by law
24 enforcement, correct?

25 A. Yes.

 

 

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1 rifles. 1t was at the Hague Peace Conference of 1899 in

 

2 which a treaty was signed which forbade the use of

3 bullets which deformed once they struck a target.

4 Can you see that?
5 A. That's what that says, yes.
6 Q. 1s it your understanding that military assault

 

7 rifles fire primarily full metal jacket bullets?

8 A. 1 don't know that.

9 \ Q. You don't know. And the next sentence says that
10 this was to decrease the amount of gross morbidity and
11 mortality during wartime. Do you see that?

12 A. 1 do.

13 Q. Would you agree that the use of full

14 metal jacket bullets will decrease the amount of gross
15 morbidity and mortality from gunshot wounds compared to

16 Other construction or design of bullets?

17 MR. COLLINS: Objection.
18 THE W1TNESS: 1 don't know that.
19 Q. BY MR. SWEENEY: All right. You do agree that

20 the full metal jacket will minimize the deformation of

21 the bullet at high velocities and when it strikes tissue,
22 correct?

23 A. 1 understand that's what it was designed for. 1
24 wouldn't call myself a ballistics expert. So 1

25 wouldn't be able to answer that definitively.

 

 

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1 Q. And let me just -- while we're there, you're not
2 an expert in ballistics generally, correct?

3 A. Correct.

4 Q. And you're not an expert in wound ballistics

5 either, are you?

6 MR. COLLINS: Objection.

7 THE WITNESS: When you say "wound ballistics,"

8 what do you mean?

9 Q. BY MR. SWEENEY: Specifically the study

10 of wounds caused by bullets.

11 A. Other than treating those wounds, no.

12 Q. And have you done any special research on

13 gunshot wounds Caused by bullets?

14 MR. COLLINS: Objection.

15 THE WITNESS: NO.

16 Q. BY MR. SWEENEY: Have you performed any studies
17 on gunshot wounds caused by bullets?

18 A. No.

19 Q. On the next page the first full paragraph refers
20 to soft-nose and hollow point bullets. 1s it your
21 understanding that those are commonly used in handguns?
22 A. 1 wouldn't argue with that statement, but 1

23 wouldn't know specifically if it's more commonly used in
24 handguns versus other weapons.
25 Q. All right. And it goes on to say those bullets

 

 

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l MR. COLLINS: Objection.
2 THE WITNESS: Not specifically asked about the
3 type of wound, but asked to give my experience in
4 treating a wound where it was clear what type of weapon
5 was used,
6 Q. BY MR. SWEENEY: All right. Have you ever given

7 an opinion as an expert or as a treating physician on

8 what type of firearm was used based upon your

9 observations from treating the wound?
10 MR. COLLINS: Objection.
11 THE W1TNESS: No. Not specifically on the type
12 based on wound. No.
13 Q. BY MR. SWEENEY: All right. And in every case
14 where you were able to identify what kind of firearm was
15 used, it's because someone told you what kind of firearm
16 was used, correct?
17 A. 1 would say certainly for the large majority, as
18 with the case of Columbine 1 did see the weapon.

19 Although, in all honesty, when 1 saw the weapon 1 was not

20 able to say that was a TEC~DC9.

21 Q. All right. Other than your experience

22 in emergency medicine, do you have any special education
23 or training in treating gunshot Wounds?

24 MR. COLLINS: Objection.

25 THE WITNESS: Outside of my role as an emergency

 

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1 consider yourself an expert in?
2 A. 1'm not sure that that particular area has
3 expertise or non-expertise, other than in my world,
4 treating those, 1 would classify myself as an expert in
5 evaluating those wounds. 1'm not sure 1 would classify
6 myself as an expert in determining a trajectory.
7 Q. All right. Have you ever given an opinion in a
8 court proceeding, at deposition, or at trial with respect

9 to the trajectory of a bullet in any of the gunshot

10 wounds that you've treated?

11 MR. comist obj ection.

12 THE WITNESS: 1 don't recall a specific event.
13 1 will sometimes get a question of, did this wound

14 represent potentially serious bodily injury

15 and/or life-threatening issues, and so 1 will then be

16 asked to say if my answer is yes, why, and oftentimes

17 part of that explanation is this was in the vicinity or
18 directly impacting a significant organ vessel, something
19 that would represent a life threat.

20 Q. BY MR. SWEENEY: When you were able to

21 personally observe the bullet used to cause the gunshot
22 wound that you were treating, were you able to

23 identify it -- the type of bullet it was as full metal
24 jacketed, soft-point, hollow point, et cetera?

25 A. 1 was not myself, no.

 

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1 Q. All right. 1s that something you're capable of
2 doing based on your expertise?
3 A. No.
4 Q. And have you treated -~ in the thousands of

5 patients with gunshot wounds that you treated, how many
6 of them had multiple wounds from multiple bullets?
7 A. 1 don't have an absolute number for you. There
8 were more with single wounds than with multiple wounds,
9 but there were a number with multiple wounds.
10 Q. And when they're multiple wounds, some of them
11 may be exit wounds as opposed to entrance wounds where
12 the bullet actually left the body as opposed to the wound
13 where the bullet entered the body, correct?
14 A. That is true. We have to be careful about that
15 from a medical perspective, because when we -- first of
16 all, we don't seem to be particularly good, according to
17 literature at determining what was an entering and exit
18 wound as a global profession; and, number 2, often my

19 message when teaching about these issues, if you assume

20 it's only one bullet you have the risk of missing

21 something, if you assume it was two, and treated it as

22 such, you're less likely to miss something,

23 So there are times when in retrospect it turns
24 out to be, as you've described, but we often need to when
25 we see two wounds assume that it's multiple areas. Other

 

 

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1 that you have treated?

2 A. Handed them immediately to law enforcement.

3 Q. Right. And you've never retained any of those

4 bullets, correct?

5 A. No.

6 Q. Have you made any study of the ballistics

7 analysis of any of the bullets that were removed from the
8 patients for which you've treated gunshot wounds?

9 MR. COLLINS: Objection.
10 THE WITNESS: 1'm sorry. 1 missed the first
11 part.
12 Q. BY MR. SWEENEY: Have you ever done a study of

13 the ballastic analysis of any bullets that were removed

14 from the patients who you treated with gunshot wounds?
15 MR. COLLINS: Objection.
16 THE WITNESS: So 1 haven't done a study of that.

17 1've read some of the analysis but, no, 1 have not done a
18 study of those.

19 Q. BY MR. SWEENEY: All right. Do you have any

20 listing of the number of patients that you've treated

21 with gunshot wounds?

22 A. No.
23 Q. And have you made any notes and recorded the
24 different characteristics of the wounds for each of those

25 over a thousand patients that you've treated with gunshot

 

 

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1 wounds?

2 A. No.

3 Q. When you removed a bullet from a wound, and you
4 have on more than one occasion, were you able to identify
5 the caliber based upon your observation of it?

6 A. NO.

7 Q. Recalling your time spent at St. Joseph's -~

8 A. (Nods head.)

9 Q. ~- can you estimate how many gunshot wounds you
10 treated there ~- how many patients with gunshot wounds

11 you treated while you were at St. Joseph's?

12 A. 1 was there for two years and probably saw

13 anywhere between 10 and 15 patients total. We weren't

14 the designated level one trauma center there, so we were

15 less likely to get gunshot wounds but we did get them.

16 Q. All right. And do you recall any breakdown of
17 the types of firearms that you understood to have been

18 used in those 10 to 15 gunshot wounds that you treated at
19 St. Joseph‘s?

20 A. Most of them were shotgun injuries and/or

21 hunting rifles with one exception.

22 Q. And that's in New Hampshire, correct?

23 A. No. That was in Ann Arbor or actually

24 Ypsilanti, spelled with a Y.

25 Q. Aii right.

 

 

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1 Q. BY MR. SWEENEY: Have you ever provided a report

2 prior to this case as an expert on different kinds of

3 wounds caused by different kinds of firearms?

4 A. NO.

5 Q. And you've never given a deposition or testified
6 in court on the different kinds of wounds caused by

7 different kinds of firearms differentiating one from the
8 Other?

9 A. NO.
10 Q. And you've never been qualified on that

11 particular subject as an expert by any court, correct?

12 MR. COLLINS: Objection.

13 THE WITNESS: And by the particular subject, you
14 mean different kinds of wounds from different kinds of

15 weapons?

16 Q. BY MR. SWEENEY: Yes.

17 A. Not in that particular area. No.

18 Q. All right. You're an expert in the delivery of
19 emergency medical services, correct?

20 A. Yes.

21 Q. And you're board certified in that area?

22 ` A. 1 am, and to be clear, because sometimes they
23 use the word "interchangeably." There's emergency

24 medicine and there's emergency medical services.

25 Emergency medical services typically refers to the

 

 

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1 A. Correct.
2 Q. Because 1'm not very good at what 1 do.
3 A. But 1 would say that in some cases 1

4 have experienced the psychologic effects in ways that

 

5 many others haven't. 1'm not a psychiatrist, but have
6 dealt with many of the psychologic issues that are
7 addressed in the emergency department.

8 So 1 would have trouble saying no if you say

 

9 that's the total extent of the expertise, but similar to
10 what your previous question had been, it would be related
11 to what 1 do in the emergency department.

12 Q. All right. And you say: 1've been retained by

13 the defendants in this case to provide expert testimony

14 on my experience treating victims of gunshot wounds; is
15 that correct?

16 A. Yes.

17 Q. 1s that what you've been retained to do?

18 A. Yes.

19 Q. 1 think we covered it, but just to be clear, in
20 reviewing the peer reviewed journal articles, you haven't

21 done any on gunshot wounds due to assault weapons,

22 correct?

23 A. 1 don't believe so. No.

24 Q. And, actually, you haven't done any peer

25 reviewed journal articles on gunshot wounds generally,

 

 

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1 correct?
2 MR. COLLINS: Objection.
3 THE WITNESS: Correct. We discussed a few areas

4 that touched on things, as you pointed out, but no

 

5 specific peer reviewed articles addressing gunshot
6 wounds.

7 Q. BY MR. SWEENEY: And while we have your CV in

 

8 front of you, if you turn to invited lectures,

9 presentations, and visiting professorships, those

10 are basically speaking opportunities that you've had over
11 the years, correct, Doctor?

12 A. Yes. 1n a variety of different settings. Some
13 of them educational, big conferences, smaller

14 conferences, pre-hospital, emergency medicine, many

15 different venues, but yes.

16 Q. And you haven't written any peer reviewed

17 journal articles or invited articles related to your

18 experiences at Columbine or Aurora, correct?

19 A. 1 believe at some point in some of the invited
20 articles 1've referenced that, but 1 haven't written

21 specific articles just about that issue.

22 Q. All right. And you haven't made any study by
23 systematically reviewing the firearms, the nature of the

24 wounds, or the bullets used at Columbine or Aurora, have

25 you?

 

 

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1 Q. And of those eight or nine patients, how many of
2 them had gunshot wounds?

3 A. All of those did.

4 Q. All right. So some patients arrived a day or

5 two later with gunshot wounds. 1s that ~-

6 A. At least one did -- transferred from another

7 facility. So they were seen initially at another

8 facility and then transferred -- we were the level one

9 trauma center -- to us as the regional level one trauma
10 center.

11 Q. Did any of the eight or nine patients that you
12 saw at Denver Health from the Aurora shootings have

13 multiple gunshot wounds?

14 A. Yes.

15 Q. How many?

16 A. At least one.

17 Q. Okay.

18 A. 1 don't recall exactly how many.

19 Q. Were you able to tell from your treatment of

20 those individuals what type of firearm had caused their

21 gunshot wounds?

22 MR. COLLINS: Objection.
23 THE WITNESS: From that treatment, no.
24 Q. BY MR. SWEENEY: All right. Did you remove any

25 bullet or bullet fragments from those eight or nine

 

 

 

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1 patients?
2 A. NO.
3 Q. And did you see any bullets or bullet fragments
4 removed from those patients?
5 A. No.
6 Q. And did you receive any information about the
7 type of firearms that were used in those shootings?
8 A. From law enforcement, yes.
9 Q. And what were you told?
10 A. 1 was told that at least one of the weapons was
11 an AR victim.
12 Q. Was it your understanding that there was more
13 than one weapon used?
14 A. Yes.
15 Q. And do you know what the other weapons were?
16 A. No. 1 was told at the same time, but 1 don't
17 recall.
18 Q. All right. And you don't know which of those
19 different weapons were used to make the gunshot wounds in
20 the patients you treated from the Aurora shootings,
21 correct?
22 A. No.
23 Q. 1f 1 could turn your attention to page 12 of §
24 that report.
25 A. Not Roman numeral 12, regular page?

 

 

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1 Q. On page 12, Arabic 12, yeah. This is a

2 reference to the -~

3 MR. COLLINS: 1 don't think we're on the same
4 page.

5 Q. BY MR. SWEENEY: -- facts surrounding the

6 attack.

7 A. Attack starts?

8 Q. Right.

9 MR. COLLINS: Oh.
10 Q. BY MR. SWEENEY: At the bottom of the page it

11 says: The shooter carried into the theater a shotgun,

12 AR~15 style semiautomatic rifle, and a .40 caliber

 

13 semiautomatic handgun, correct?
14 A. Yes.
15 Q. 1t then skipping a sentence, it says: He first

16 opened fire with a shotgun firing six shells until he

17 exhausted its ammunition. Do you see that?

 

18 A. Yes.

19 Q. How many shotgun pellets would have been shot
20 into the crowd by him firing six shotgun shells?

21 A. 1 don't know.

22 Q. Dozens, if not hundreds, of pellets?

23 A. 1 would imagine.

24 Q. All right. And depending upon the size of shot,

25 they can be almost the same diameter as a .223 round

 

 

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1 typically used in an AR-15, correct?

2 A. So my experience has been that the shotgun

3 pellets are far smaller, and that the AR~15 wounds have
4 been bigger and far more substantial.

5 _ Q. But you don't know if you were treating shotgun

 

6 wounds or AR-15 wounds from the patients you saw from the
7 Aurora shootings?

8 A. No. 1 don't recall any of the wounds that

9 looked like shotgun wounds or pellets, but 1 can't tell

10 you specifically what weapon was used,

11 Q. All right. 1t also says he fired five rounds
12 from the handgun on the next page, correct?

13 A. Yes.

14 Q. So you don't know whether or not any of the

15 wounds you treated were caused by a .40 caliber handgun,

16 correct?
17 A. 1 don't.
18 Q. And he did fire it says .65 ~- at

19 least .65 high-velocity rounds from a magazine that was
20 AR-15. Do you see that?

21 A. Yes.

22 Q. So that may or may not have been more bullets
23 from the AR~15 than he fired in terms of total number of
24 shotgun pellets and handgun rounds, correct?

25 A. 1t may or may not have been.

 

 

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1 We transported ultimately 24 from the scene, and 1

2 believe all of them had been gunshot wounds, but 1 don't

 

3 know for certain that those were the only ones

4 and/or that they weren't at least one of the patients

5 that we saw in triage may have been transported by

6 ambulance as well that had fallen and injured their ankle

7 very badly.

 

8 Q. 80 of the 24 or so individuals that were
9 transported with what you believe to have been gunshot
10 wounds, could some of them have been shrapnel wounds?
11 A. Some of those could have been shrapnel wounds.
12 Q. And do you have any real way of quantifying
13 which one of those were shrapnel wounds and which were
14 gunshot wounds under the circumstances in your ability to

15 observe that day?

16 A. No. 1 remember specifically seeing some

17 injuries that we've ultimately designated to non~trauma
18 centers that could have been maybe a shotgun pellet or
19 shrapnel injuries.

20 Q. All right. And were you able to tell from your

21 observation of the wounds, on the 24 or so transported,
22 what type of firearm had caused their wounds, if in fact
23 they were gunshot wounds?

24 A. No. 1n 1999 my experience was far less.

25 Looking back on it now, there are wounds that we saw

 

 

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1 there that were very consistent with wounds that 1 know
2 to have been from assault weapons, but at the time 1

3 certainly wasn't able to and couldn't even now say this
4 was definitely a TEC-DC9 or other weapon, but some of

5 those wounds Were consistent with what 1 have seen from

6 assault weapons.

 

 

7 Q. What do you understand were being used by the
8 shooters in Columbine for firearms?
9 A. 1 understood that they had TEC-DC9 and sawed-off

10 shotguns. 1 don't know what other weapons they had.

11 MR. SWEENEY: 1 think the sheriff can help us

12 there. Let's mark this as Exhibit 16, please.

13 (Exhibit 16 was marked for identification.)

14 Q. BY MR. SWEENEY: Now, 1've marked a four-page

15 document that 1 printed off the Jefferson County,

16 Colorado, Sheriff's website titled How They Were Equipped
17 That Day. Have you seen this before?

18 A. 1 have seen many of these pictures before,

 

19 certainly the one in the cafeteria, and 1 have seen this
20 picture before, yes.

21 Q. This picture being the first page which shows a
22 sawed-off shotgun and a TEC-DC9 identified as Klebold

23 Weapons and a sawed-off shotgun and a high .9 millimeter
24 carbine identified as Harris Weapons. That's the picture

25 you've seen before?

 

 

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l A. Yes.

2 Q. And the narrative talks about the use of the

3 firearms over the course of the shootings, and the final
4 page is a chart that shows the rounds that were fired in
5 different locations by different shooters. Are you

6 familiar with that chart?

7 A. No.

8 Q. All right. Now, is it -- how many people were

9 killed that day?

10 A. Fifteen, if you include the two shooters.
11 Q. And of the 13 non-shooters, two were killed
12 outside the library -- 1 mean outside the cafeteria?
13 A. Outside the building, yes.

14 Q. Outside the building, And so where it says

15 outside we see that there were two shotgun rounds shot
16 outside, but 50 .9 millimeter rounds shot outside,

17 correct? Am 1 reading that chart correctly?

18 A. Outside, 2 by Klebold is the 2 1 see.

19 Q. Right. Two shotgun rounds, and then adding the
20 Harrison and Klebold .9 millimeter rounds outside

21 together, 1 had about 50 there.

22 A. Oh, it's 47 plus 3, okay, yes, 50.

23 Q. All right. And the narrative talks

24 about the rifle as being a high .9 millimeter carbine

25 rifle, correct?

 

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1 A. 1 believe so, yes.

2 Q. That was used by Harris?

3 A. Harris.

4 Q. And do you know if that's an assault weapon?

5 MR. COLLINS: Objection.

6 THE WITNESS: 1 don't know that.

7 Q. BY MR. SWEENEY: And do you know if it's banned
8 in Massachusetts?

9 A. 1 don't.
10 Q. You would agree with me it's not on the list of
11 enumerated firearms that are banned?
12 A. You're referring to the enforcement notice that
13 1 referred to earlier?
14 Q. Yes, 1 am,
15 A. And 1 don't see it listed on the enumerated

16 weapons.

 

17 Q. All right. And the TEC-DC9 is identified as a
18 .9 millimeter semiautomatic handgun, correct? That's at
19 the top of the -- the second paragraph on page 3.

20 A. TEC-DC9, .9 millimeter semiautomatic handgun,
21 yes.

22 Q. 1s that your information with respect to the

23 firearm that was used by Klebold in addition to his
24 sawed-off shotgun?

25 A. Yes. 1t didn't come from this document, but

 

 

M-AG N-AQ

LEGALSERVKES

